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                                   STATEMENT OF FACTS

        Your affiant, Jonathan Bastian, is a Special Agent with the Federal Bureau of Investigation
assigned to the Chicago Division, West Resident Agency. In my duties as a special agent, I have
been tasked with investigating allegations associated with acts of domestic terrorism and the
individuals perpetuating such acts. I have been employed with the Federal Bureau of Investigation
since December of 2020 and initially spent twenty-two weeks at the FBI training academy in
Quantico, Virginia. I have completed training and gained experience in interviewing and
interrogation techniques, arrest procedures, search warrant applications, the execution of search
and seizures, and various other criminal laws and procedures. I have a two Bachelor’s Degrees,
one in Psychology and one in Sports Management, a Master’s Degree in Professional Counseling,
and approximately eleven years of professional experience as a civil servant prior to joining the
FBI. Through my training, education and experience, I have become familiar with the manner in
which criminal activity is carried out, and the efforts of persons involved in such activity to avoid
detection by law enforcement. Currently, I am tasked with investigating criminal activity in and
around the Capitol grounds on January 6, 2021. As a FBI Special Agent, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

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       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                            FACTS SPECIFIC TO ULISES WILKINSON

                          Open Source and U.S. Capitol Police Video

       On May 18, 2022, a credible FBI Confidential Human Source (CHS) submitted
information pertaining to WILKINSON’s involvement in the January 6, 2021 United States
Capitol riots. The CHS provided open source and social media images, along with links to videos
where WILKINSON can be seen inside the U.S. Capitol building on January 6, 2021. The CHS
also provided photographs and still shots from the videos. The photos below are some of the
examples of pictures from the open source and social media images and videos provided by the
CHS. WILKINSON is identified in the pictures by adding a yellow circle to the pictures.

        The images provided by the CHS included a picture from an open source video by
WEBERZWAYFILMS showing WILKINSON near the Washington Monument during the “Stop
the Steal” rally on January 6, 2021. WILKINSON is wearing a yellow construction vest with gray
and orange vertical stripes, a black hood over a black ball cap, and neck scarf. He is carrying what
appears to be two pieces of white cardboard, approximately 2 feet by 3 feet in dimension. The
picture depicts the white sign with handwritten text “Free Assange!” in large black letters. See
Figure 1.




                                             Figure 1

                                                 2
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       Two other open source images and video show WILKINSON approaching the west side
of the U.S. Capitol with other rioters. See Figures 2, 3. In one of the images, WILKINSON is
holding a white cardboard sign with different handwritten text than the sign at the Washington
Monument. See Figure 2.




                                          Figure 2




                                          Figure 3




                                              3
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       Additional open source pictures (below) show WILKINSON at locations within the U.S.
Capitol Building. WILKINSON is wearing the same clothing as he did during the rally at the
Washington Monument and carrying the white signs.

        I compared these open source images (below) with U.S. Capitol Police (USCP) Closed
Circuit Video (USCP video) footage from within the U.S. Capitol Building. Using this comparison
with the USCP video, I have determined the location of the pictures from the open source and
social media sources.

        This image below shows WILKINSON entering the Upper West Terrace Door on the first
floor of the U.S. Capitol. See Figure 4. I reviewed the USCP video of the Upper West Terrace
Door and determined that WILKINSON entered the U.S. Capitol at approximately 2:35 p.m. The
door that WILKINSON entered is not a public entrance.




                                           Figure 4

        In the open source image below, WILKINSON is shown on the third floor of the U.S.
Capitol outside of the Senate Gallery. See Figure 5. I reviewed the USCP VIDEO of the hallway
outside of the Senate Gallery. The image of WILKINSON, below, occurred at approximately 2:42
p.m. I determined that WILKINSON entered the Senate Gallery on two separate occasions,
through two separate doorways. He is in the Senate Gallery for approximately two minutes.




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                                          Figure 5

       In addition, I have compared the open source, social media image below with known
images of the Senate Gallery, located above the United States Senate Chamber. Based on that
comparison, I determined the open source image below, Figure 6, is an image of the Senate
Gallery, located above the United States Senate Chamber.




                                          Figure 6

       In the image below, WILKINSON is shown in the Rotunda on the second floor of the U.S.
Capitol. See Figure 7. USCP video shows WILKINSON was in the Rotunda on at least two
separate occasions. First, WILKINSON is in the Rotunda at approximately 2:35 p.m. for about a
minute. At a later time, he reenters the Rotunda before exiting the U.S. Capitol Building.




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                                           Figure 7

         In the image below, WILKINSON is shown in a hallway near the Ohio Clock Corridor
within the U.S. Capitol building. See Figure 8. According to the USCP video, WILKINSON is
in this corridor at approximately 2:48 p.m.




                                           Figure 8

       In reviewing USCP video, I determined that WILKINSON exited the U.S. Capitol Building
through the East Rotunda door at approximately 3:17 p.m.

       Based on my knowledge of the events at the U.S. Capitol Building and grounds on January
6, 2021, the open source pictures above show WILKINSON inside the Capitol after it was
breached by rioters. Throughout the background, other people are present in the Rotunda, and the
crowds appear consistent with other video and images of the riot that I have observed.




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                          August 3, 2022 Interview of WILKINSON

        On July 27, 2022, WILKINSON contacted me and Special Agent Shaefer by phone. He
stated he was living in Texas with relatives, and agreed to cooperate with agents. On August 1,
2022, I and Special Agent Shaefer contacted WILKINSON by telephone, and agreed to schedule
an in-person interview for August 3, 2022.

        On August 3, 2022, I, Special Agent Shaefer and Special Agent Will Circle conducted a
voluntary interview of WILKINSON in McAllen, Texas. WILKINSON said he flew to
Washington on January 5, 2021. He attended the rally with friends he met in D.C. in November
20220. After the initial rally, WILKINSON followed the crowd to the Capitol building.
WILKINSON climbed the inauguaration steps and saw police officers being physically attacked.
WILKINSON said he didn’t engage in any physical violence, but entered the Capitol through a
breached door and followed the crowd inside. He entered the Rotunda area, but said he stayed
awary from any violent altercations he saw. WILKINSON saw the door on the second floor of the
Senate Chamber was open and he walked inside. He saw two other rioters engaging in a physical
altercation, so he exited the Senate chamber. Wilkinson returned to the Rotunda and exited the
Capitol. WILKINSON left Washington on January 7, 2021.

       Law enforcement showed WILKINSON several photos, including the photos described
above as Figures 1, 4, 6, and 7. WILKINSON identified himself in each of these photos.

        WILKINSON told officers that he had been invited to join the Proud Boys at one point
around the time of the rallies leading up to January 6, 2021, but WILKINSON refused. He was
not in communication with or connected to any violent extremist groups. WILKINSON has not
communicated recently with anybody he knew from the events of January 6, 2021.

                        Review of WILKINSEN’s Cell Phone Images

       During the interview of WILKINSON, FBI Chicago was given Consent to Search
WILKINSON’s personal cellular telephone. Law enforcement took custody of WILKINSON’s
iPhone, and eventually made an image of the cell phone. Upon a review of the scoped contents of
WILKINSON’s cell phone, law enforcement discovered a number of images and videos taken on
January 6, 2021, within the restricted area of the U.S. Capitol grounds as well as inside the U.S.
Capitol building.

    WILKINSON’s cell phone contains a picture of him and an unnamed subject. The metadata
on this picture indicates it was taken on January 5, 2021. In a cropped version of this picture,
WILKINSON is wearing the same apparel as he was wearing in the images inside the U.S. Capitol
building on Jan. 6, 2021. See Figure 9. WILKINSON is carrying two signs. The sign in front of
the image matches the image of the sign stating “Free Assange” that is seen with WILKINSON
the next day at the Washington Monument. See Figure 1, above. There is a second sign behind
the first sign, but the writing on the second sign is not clearly shown in this picture.




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                                              Figure 9

    WILKINSON’s cell phone contained several images from January 6, 2021, that depicted the
temporary scaffoldings located on the west side of the Capitol. These temporary scaffoldings were
set up in preparation of the inauguration scheduled for January 20, 2021. See Figures 10, 11.




                                         Figures 10, 11

       WILKINSON’s cell phone contained several images that depicted WILKINSON inside of
the U.S. Capitol Building. In particular, WILKINSON is shown in two photos inside the Rotunda.
See Figures 12, 13. In the second image, WILKINSON is carrying a piece of white cardboard,
approximately 2 feet by 3 feet in dimension. The picture depicts the white sign with handwritten
text “Move Mitch! Get out the way!” in large black letters. See Figure 13. On January 6, 2021,
the Minority Leader of the United States Senate was Kentucky Senator Mitch McConnell.




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                                          Figure 12




                                          Figure 13

    Additional images from WILKINSON’s cell phone depict various locations inside the U.S.
Capitol Building, including the stairway from the Upper West Terrace door to the Rotunda, the
Rotunda, the East Rotunda door, and other locations within the U.S. Capitol Building. In
particular, there are two pictures on WILKINSON’s cell phone that show the Gallery above the
Senate Chamber and portions of the Senate Chamber. See Figures 14, 15.




                                        Figures 14, 15

        Also discovered on the scoped review of the contents of WILKINSON’s phone, in the
“Notes” section, was a note containing a statement by WILKINSON. According to metadata on
the cell phone, this note was created on April 26, 2021, and modified on August 2, 2022. When
officers interviewed WILKINSON on August 3, 2021, WILKINSON provided a copy of this note
to officers. See Figure 16.

        In this note, WILKINSON acknowledged that he stormed the Capitol with other rioters, he
went inside a breached door of the Capitol, he chanted “1776” and held up his signs inside the
Capitol, and he went into the Senate Gallery. WILKINSON also expressed remorse for his actions,
stating he “regretted it since the moment I stepped foot inside.” (emphasis added).

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                                            Figure 16

        Based on the foregoing, your affiant submits that there is probable cause to believe that
ULISES WILKINSON violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that ULISES WILKINSON
violated 40 U.S.C. § 5104(e)(2)(B), (D) and (G), which makes it a crime to willfully and
knowingly (B) enter or remain in the gallery of either House of Congress in violation of rules
governing admission to the gallery adopted by that House or pursuant to an authorization given by
that House; (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive

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conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.



                                                     _________________________________
                                                     Jonathan Bastian
                                                     FBI – Special Agent

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 24th day of May 2023.
                                                                       2023.05.24
                                                                       13:37:17 -04'00'
                                                     ___________________________________
                                                     Robin M. Meriweather
                                                     U.S. MAGISTRATE JUDGE




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